Case 1:05-cr-10031-.]DT Document 7 Filed 06/17/05 Page 1 of 2 Page|D 8

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WESTERN DISTRICT oF TENNESSEE
Eastern Division 05 JUN l_l PH m 00
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l'i‘. /. ,I l
-vs- Case No. l:05cr10031`-]6`S'H0[\

GREGORY T. KERRENT

 

()RDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Aceordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' All purposes including trial and appeal

I)()NE and ORDERED in lll South Highland, Jackson, TN, this 17th day ofJune, 2005.

7/7

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:
United States Attorney
United States Marshal

Pretrial Services Ot`tice
Assistant Federal Public Dei`ender

Thls document entered on the docket h compliance
with Hu|a 55 and/or 32(b) FHCrP on n

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CR-10031 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

M. Dianne Smothers

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Ste. B-S

Jackson, TN 38301

Jimmy L. Croom

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

